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                             UNITED STATES BANKRUPTCY COURT                     RETMAILD (rev 08/2007)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                               Case Number:
       SSN: NA               EIN: NA                         10−93904−BHL−11
    Debtor(s)

                     NOTICE OF REQUEST FOR CHANGE OF ADDRESS

      TO: Debtor(s)/Attorney for Debtor(s)

      The Court received a 341 meeting notice for Lane Cattle Company and Dave Rings from
the U.S. Post Office. This party has not received notice of the filing of the bankruptcy case.

       YOU ARE HEREBY NOTIFIED that it is your responsibility to forward the 341 meeting
notice to the affected party, and to file in writing with the Court a Notice of Change of Address
listing the party's corrected address.

Dated: March 11, 2011                              KEVIN P. DEMPSEY, CLERK
                                                   U.S. BANKRUPTCY COURT
